Case 1:15-cr-00037-SPW Document 68 Filed 06/15/17 Page 1 of 7
Case 1:15-cr-00037-SPW Document 68 Filed 06/15/17 Page 2 of 7
Case 1:15-cr-00037-SPW Document 68 Filed 06/15/17 Page 3 of 7
Case 1:15-cr-00037-SPW Document 68 Filed 06/15/17 Page 4 of 7
Case 1:15-cr-00037-SPW Document 68 Filed 06/15/17 Page 5 of 7
Case 1:15-cr-00037-SPW Document 68 Filed 06/15/17 Page 6 of 7
Case 1:15-cr-00037-SPW Document 68 Filed 06/15/17 Page 7 of 7
